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 EXHIBIT H
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                                                                                                                      3003 Palm Harbor Blvd., Suite B
                                                                                                                              Palm Harbor, FL 34683
                                                                                                   e: Payroll@VestedHR.com | w: www.vestedhr.com
                                                                                                                   o: 727.474.2114 | f: 727.255-6006

                                                           Employee Termination Notice
       Employee Name:                                                       Last four of SS# or EE ID#:

           Alanzo Hawkins

       Client Name:                                                         Client ID#:
        Southern Road & Bridge LLC                                                 000101
     I. Employee Information
       Last Day Worked:
                          11-6-2023
       Effective Date: 11-9-2023
       Eligible for rehire: Yes        No

       Cancel direct deposit and issue live check:     Yes            No


     II. Voluntary Termination                                              III. Involuntary Termination


           No Return from LOA                                                      Job Eliminated
           Retirement                                                              Unsatisfactory Performace
           Return to School                                                        Tardiness
           Personal                                                                 Lack of Work
           Issues w/Team Members                                                   Violation of company handbook
           Enlisted;Military                                                        Insubordination
           Schedule/Hours                                                          Absenteeism
           Working Conditions                                                      Other ___________________
                                                                                           No call no show two days in a row

           Illness/Medical
           Relocation
            Quit w/Notice
            Quit w/o Notice
            Other ___________________

     Remarks:
                   No Call No Show for two days, blocked Supervisor's and foremans phone numbers.
                   Project manager texted him and asked if he was going to work no answer. Had another employee drive him
                   to airport and told him he would be back Monday without asking Supervisor.



     Employee Signature:                    Date:            Manager Signature:                     Date:


     ________________________________ ___________ _____________________________ __________




                                                                  PROPRIETARY CONFIDENTIAL                    Hawkins-Supp000225
                                             * Vested HR Solutions, LLC includes the following companies/names:
Payroll-Termination-02/2020-KL         Vested HR, Vested HR II, LLC, Vested HR III, LLC, Vested HR IV, LLC Vested HR V, LLC                  Page 1 of 1
